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SDNY PRO SE OFFICE
UNITED STATES DISTRICT COURT MES -93 FR 2:45

SOUTHERN DISTRICT OF NEW YORK.

Wilfred Labossiere

 

  

occu wes soe COMPLAINT.

 

 

(In the space above enter the full names(s) of the plaintifffs).)

 

 

 

 

 

 

 

 

 

 

-against- ~ ‘under the
Civil Rights Act, 42 U.S.C. § 1983
Downstate COrrectional Facility . - (Prisoner Complaint)
John Doe ( officer) Block Officer ¥F" Block 3 to 1l .
shift on July 13, 2019 : Jury Trial¥Z Yes™-No
, _ (Check one)
(In the space above enter the full name(s) of the defendant(s). If you
Cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an .
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in |
Part L. Address should be included here)
I. Parties in this Complaint
A. List your name, identification number, and the name and address of your current place of

confinement. Do the same for any additional plaintiffs named. Attach additional sheets
of paper as necessary.

Plaintiff . Name Wilfred Labossiere

ID#__14A2683
Current Institution Downstate Cérrectional Facility
Address 121 Red school house Rd

Fishkill NY 12524

 

 

 

 

B. List all defendants’ names. Positions, places of employment, and the address where each
defendant may be served. Make sure that the defendant(s) listed below are identical to
those contained in the above caption. Attach additional sheets of papers as necessary.
Case 7:21-cv-10538-KMK Document 2. Filed 12/09/21 Page 2 of 19

 

 

Defendant No. 1 Name _N. Baxter = Shied #

Where Currently Employed Downstate Correctional Facility
. Address 121 Red Schoohihouse RD

Fishkill Ny 12524

 

 

 

Defendant No. 2 ~ Name — Shied #
So Where Currently Employed
cece vee vag eee ° . venice ene contin ueseomne ect es ceme “Address” mn Deveeen pies cotta i at meme eae coemanern senmeewe enema seed antec cmeenen vit ate eine tans remeceemenrmenesi es ae

 

 

 

Defendant No. 3 Name -". -.. Shied #
_ Where Currently Employed
Address

 

 

 

 

~ Defendant No. 4 Name __ Shied #
_ Where Currently Employed
Address

 

 

 

Defendant No. 5 Name __ Shied # -
Where Currently Employed
_ Address

 

 

 

 

IML, Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants in the caption of:
this complaint is involved in this action, along with the dates and locations of all relevant events. You
may wish to include further details such as the names of other persons involved in the events giving rise
to your claim. Do not cite any case or statues. If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary. —

A. In what institution did the events giving rise to your clam(s) occur?

Downstate Correctional Facility

 

B. Where in the institution did the events giving rise to your claim(s) occur? _
4 complex "F" Block

 

C. What date and approximate time did the events giving rise to your claim(s) occur?
3 to ll shift

 
What
happened to

Who did What?

 

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D. Facts: On July 13, 2019 Officer N. Baxter working 3 tc 11 pm shift ints.
interfered with my access to treatment and was deliberaltely inddfferent .to
my health, . He refused. to follow doctor's orders for my treatment for ancinvasive
surgery performed on my rectum én June 29,2019. As the surgical area which was
still bleeding and draining would be exposed to fecal matter on the open wound

 

 

 

 

 

after a bowel movement, I must shower to prevent inféction by cleaning the area
in the shower with running water. Officer N. Baxter refused my two two request

for a shower ( which is next door to my cell). Yet, he allowed cells F8,F5,F27

 

 

“FO and F30 all out to walk their training dogs outstde™the~block and~check~there——~

 

‘laundry in the washing machine. see greivence DS-5655-19 for full details attacted.

 

vas anyone else
wah?

vho else saw
that?

 

 

As this is not the first incident with this officer Ive had to report and or the

 

The last as shortly after I was transfered to his main block he works the 7 to 3
shift a messhall block. I didnt understant why I was transfered to his main block

after the greivence issue as I worked in the Law Library not the messhall. On

 

 

Dec 11, 2019 -a cell search was performed and it was claimed that 0.6 grams of

 

Marajuana was found in the small locker by N Baxter. At the disposition hearing
I made it clear that the drugsiwas rot mine. I was drug tested itcvwasufound that

 

I'm'elean, no drugs was in my system. I appealed the disposition of 30 days keeplock
with 20 days suspened. On November 20, 2020 the charges was reversed.

See Abbacted - Grivenee 3 ,Micves ; jis Spor. Lor
. Umjuries:

If you sustained injuries related to the events alleged above, describe them and state what medical
treatment, if any, you required and received. Stress, mental aguish, physical pain and bleeding

 

 

 

 

 

 

 

IV. Exhaustion of Administrative Remedies:

The Prisoner Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be
brought with respect to prison conditions under section 1983 of this title, or any or F ederal law, by a
prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as
are available are exhausted.” Administrative remedies are also known.as grievance procedures.

A. Did your claim(s) arise while you were confined ina jail, prison, or other correctional
facility?

Yes *™ No

 
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If YES, name the jail, prison, or other correctional facility where you were confined at the time

of the events giving rise to your claim(s). _
Downstate correctional faciltiyu

 

 

Does the jail, prison or other correctional facility where your claim(s) arose have a | grievance
procedure?

YEE NOT De Not engi Er re sn een vane

~ Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s)
_. arose cover some or all your claim(s)?

 

Yes_. » No Do Not know XX
If YES, which claim(s)?

 

Did you file a grievance in the jail, prison, or other facility correctional where your claim(s)

arose?

Yes XX No

 

If NO, did you file a grievance about the events described in this complaint, where did
You file the grievance?
Yes No

If you did file a grievance, about the events described in this complaint, where did you file the

Grievance?
Downstate Correctional Facility

 

 

 

‘1. Which claim(s) in this complaint did you grievance
All
2. What was the result, if any?

 

I was investegated

 

. The highest level of the grievance process.

3. What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to

 

I was Appealed to Albany

 

 

 

 

 

 

 
Note:

V.

informed, when and how, and their response, if any>

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If you did not file a grievance:
1. If there are any reason why you did not file a grievance, state them here:

 

 

 

2.‘ T£ you did not file a grievance but informed any official of your claim, State who you in

 

 

 

 

Please set forth any additional information that is relevant to the exhaustion’ of your
administrative remedies. ‘I was interveiwed by the area seargent

 

 

 

 

 

 

You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.

Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any,
That you are seeking and basis for such amount). . MOnetary Compensation $500,000.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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On
these -

 

Claims

 

 

On. |
other
‘claims

 

 

VI.

Previous lawsuit:

Have you filed other lawsuits i in state or federal court dealing with the same facts involved i in this
action?

Yes No xx

If your nswer to “A is yes, describe éach lawsuit by answering questionitgs I through 7 below. -

(if there is more than one law suit, describe the additional lawsuits on another sheet of paper,
using the same format.)

 

 

 

 

 

 

l. Parties to previous lawsuit:
Plaintiff eee
Defendants
2. Court (if federal court, name the district, if state court, name the county)
-3... Docket or index number -~a-~-------
4. Name of Judge assigned to your case ween
5, Approximate date of filing lawsuit Soeaee ee
6. Is the case still pending? Yes No _XX
7. What was the result of the case? (For example: Was the case dismissed? Was there
, Judgment in your favor?. Was the case appealed?

 

ees ieee re nes er ry em tte Se me fa SSE er

 

 

‘Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?

Yes No xX

 

If your answer to C is Yes, describe each lawsuit by answering questions | through 7 below.
(If there is more than one lawsuit, describe the additional lawsuits on another piece of paper,
Using the same format. )

1. Parties to previous lawsuit:
Plaintiff 99 ------+--~-++~

Defendants . _
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_ 2. | Court (if federal court, name the district, if state court, name the county)
3. Docket or index number --------- -——
4. Name of Judge assigned to your case ccs
5. ‘Approximate date of filing lawsuit . ---------
6. Is the case still pending? Yes_ === No XX___
7. What was the result o of ‘the case? (For, example: “Was t the case dismissed? Was there |

Judgment in your favor? Was the case appealed? ---. ------------0r 7

 

 

I declare under penalty of perjury that the forgoing is true and correct.

Signed this A? day of (or 20 2/ _.

 

Signature of Plaintiff

 

. Inmate Number

 

 

Institution Address

Note: All plaintiffs named i in the caption of the complaint must date and sign the complaint and provide
their inmate numbers and addresses.

I declare under penalty of perjury that on this day of Lav , 20 At ,tam
delivering this complaint to prison authorities to be mailed to the Pro Se Office of the United States

District Court for the Southern District of New York. '

3 to before me this. , Signature of Plaintiff ZL
“ Lb tL ,
“Notary Public

 

JUANITA CARMICHAEL
Notary Public, State of New York
No.O1CA6122155
Qualified in Dutchess County
Commission Expires Feb. 07, 20a

  

 

 

 

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FORM 2171B (.u/4) CASS thre bENEHAORR SMart RF SPER RECTORS AAS GSMMONTY SORERVUI A? cep

Side 2

 

   

Vp ee PST : Correctional Facility i

INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO

 

 

1, NAME OF INMATE (Last, First) ¢ NOMBRE DEL RECLUSO (Apellido, Nombre) NO. # NUM. HOUSING LOCATION ¢ CELDA

      

§
Ke nt

f :
INCIDENT TIME ¢ HORA

 

gg es

OF INCIDENT ¢ LUGAR DEL INCIDENTE

 

 

           

 

 

         

gag Rie 4
3. RULE VIOLATION(S) ¢ VIOLAC

a

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4. DESCRIPTION OF INCIDENT ¢ DESCRIPCION DEL INCIDENTE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ne

a TITLE 6 TITULQ,
< ‘
i

REPORT DATE * FECHA REPORTED BY ¢ NOMBRE DE LA PERSONA QUE HACE EL INFORME
i ‘

: >

”

     

 

 

1

 

 

 

 

bag da

 

 

 

 

 

 

 

 

 

 

3 £ 2
Vp ub gad PDA a <
5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES (if any) SIGNATURES:
ENDOSOS DE OTROS EMPLEADOS TESTIGOS (si hay) FIRMAS: 1.
2. 3.
NOTE: Fold back Page 2 on dotted line before completing below.
oy oy OTT no
DATE AND TIME SERVED UPON INMATE __ @& 2) fi 4 CO Ge NAME AND TITLE OF SERVER CS Jie ua tose -
FECHA HORA DADO AL RECLUSO : NOMBRE Y TITULO DEL QUE ENTREGA

 

 

You are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding. ¢ Por este medio se le informa que no se puede usar ninguna declaracién hecha por usted como respuesta al cargo o la informacion derivada de ella

en una demanda criminal.

NOTICE ¢ AVISO
REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above report is a formal charge and will be considered and determined at a hearing to be held. ¢ Por este medio se le norifica que
el informe anterior es un carge formal el cua! se considerara y determinara en una audiencia a celebrarse.

The inmate shall be permitted to call witnesses provided that so doing does not jeopardize institutional safety or correctional goals. ¢ Se le permitira al recluso llamar
testigos con tal de que al hacerlo no pondra en peligro la seguridad de la institucion o los objectivos del Departamento.

if restricted pending a hearing for this misbehavior report, you may write to the Deputy Superintendent for Security or his/her designee prior to the hearing to make
a statement on the need for continued prehearing confinement. ¢ Si esta restringido pendiente a una atidiencia:por este. informede mal compartamiento, puede
ascribirle al Diputado del Superintendente para Seguridad o su representante antes de la audiencia'‘para qtie"haga una declaracién acerca de la necesidad de
continuar bajo confinamiento, previo a la audiencia. -

Distribution: WHITE - Disciplinary Office CANARY - tnmate (After review) ¢ Distribucion: BLANCA - Oficina Discipliaria "“AMARILLA - Recluso (después de la resion)
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NEW YORK STATE
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE

 

ALBANY, N.Y. 12226-2050

ANTHONY J. ANNUCCI JAMES O'GORMAN
ACTING COMMISSIONER . DEPUTY COMMISSIONER

CORRECTIONAL FACILITIES

REVIEW OF SUPERINTENDENT'S HEARING
NAME: LABOSSIERE, WILFRED NO. 14A2683

HEARING FACILITY: DOWNSTATE

ON BEHALF OF THE COMMISSIONER, PLEASE BE ADVISED THAT YOUR
SUPERINTENDENT'S HEARING OF DECEMBER 19, 2019, HAS BEEN REVIEWED AND

ADMINISTRATIVELY REVERSED ON NOVEMBER 16, 2020.

D. VENETTOZZ1
DIRECTOR, SPECIAL HOUSING/
INMATE DISCIPLINARY PROGRAM

CC: FACILITY SUPERINTENDENT
CENTRAL OFFICE FILES

APPEAL DECISION RENDERED PURSUANT TO SECTION 254.8 OF CHAPTER V AND
ELECTRONICALLY PRODUCED UPON THE AUTHORITY.OF THE DIRECTOR OF SPECIAL
HOUSING/INMATE DISCIPLINE PROGRAM.
en,

Inmate Grievance Complaint

 

 

Downstate Correctional Facility

Wilfred Labossiere Housing Unit 4-F-1

Program: 3 Complex Law Library

Description of Problem: On July 13, 2019 Officer N. Baxter working 3 to ll shift
interfered with my access to treatment and was deliberately indifferent to my
health. He refused to follow doctor's orders for my treatment for an invasive
surgery performed on my rectum on June 29, 2019. As the surgical area which was
still bleeding and draining would be exposed to fecal matter on the open wound
after a bowel movement, I must shower to prevent infection by cleaning the area

in a shower with running water.

An extension of the original order was given to the Block Officer on July ll,
2019 in the form of a shower pass. Officer N. Baxter refused my two requests for
a shower (which was next door to my cell). Yet, he allowed cells F8, F5, F27, F2,
and F30 all out to walk their training dogs outside the Block and check the
laundry in the washing machine. The Officer's indifference to my medical treatment

violated my Eight Amendment Right.

Officer's behavior in refusing to follow doctor's orders of my health sanitary
duties, yet allowing others in the same Block to perform their sanitary duties of

dogs is a violation of rights and put me at risk for infection and Septis Blood

causing serious illness or.death. This is the second of such behavior as the first
was on February 10, 2017. Now with doctor's orders to the Block Officers there is

a clear question to inflict harm and denude any entitlement to me. Any transfers,

disciplinary, or adverse actions by any staff will be considered retaliation.

Action Requested By Inmate: Disciplinary action immediately against Officer Baxter
to hold accountable for the extreme lack of professionalism in handling the care
of people. To be free of cruel and unusual punishment. Also, disciplinary action-—

as he would share private information from Prisoner's PSI Report to other prisoners.

Grievant Signature:

 

 
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DOWNSTATE CORRECTIONAL FACILITY

 

TO: Security

FROM: Medical

 

 

 

RIE: Name:
Number:
Cell:
DATE:
Feed on Gallery a’ __ days
~ ReconGallery _- _ days
__ No Recreation days
No Shave days
_______ Cane Pass ee days
__ Crutch Pass - _ days
Sneaker Pass days
Restricted to cell for ee _ days

Should report to sick call on

 

Date:

 

Nurse Signature

 
 

 

Physician or PA Signature >

All restrictions will continue through the expiration date.

DNO20
» 4 €ase %21-cv-10538-KMK Document 2. Filet#2/09/22~ Page “bE of19 «: \ iE ee

Inmate Grievance Complaint

 

“Downstate Correctional Facility

Wilfred Labossiere Housing Unit 4-F-1

Program: 3 Complex Law Library

Description of Problem: On July 13, 2019 Officer N. Baxter working 3 to ll shift
interfered with my access to treatment and was deliberately indifferent to my
health. He refused to follow doctor's orders for my treatment for an invasive
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of people. To be free of cruel and unusual punishment. Also, disciplinary action—

as he would share private information from Prisoner's PSI Report to other prisoners.

: : oe ‘
Grievant Signature: ene
Case 7:21-cv-10538-KMK Document 2 Filed 12/09/21 Page 13 of 19
DOWNSTATE CORRECTIONAL FACILITY

 

TO: Security

FRO: Medical

 

 

 

REE: Name:
Number:
Ceil:
DATE:
oe Feed on Gailery _é OO days
"Rec on Gallery os “days
_ No Recreation _ days
No Shave — days
_ Cane Pass ee days
____. Crutch Pass . days
Sneaker Pass days
Restricted to cell for days

Should report to sick call on

 

Date:

 

Nurse Signature

 

 

Physician or PA Signature . ©

AMl restrictions will continue through the expiration date.

DNO20
Case 7:21-cv-10538-KMK Document 2 Filed 12/09/21 Page 14:0f.19
FORM 21312E (REVERSE) (912) Fg 21 Page 140f,19.
Response of IGRC: Los

gees
j ¢

 

“4 IGRC Members:

 

 

 

  

Return within 7€alendar days and check appropriate boxes.”

é

 

 

[a | disagree with IGRC response and wish to [-] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
1 | agree with the IGRC response and wish to [-] | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed: ee
eo” Grievant Date

 

    

8 : vo Boe

 

*"“"Grievalce Clerk's Receipt mae

 

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:
Date

Grievance forwarded to the Superintendent for action:
Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
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DOWNSTATE CORRECTIONAL FACILITY

 

TO: Security

FROM: Medical

easel

RE: Name: Low wh “De

 

Number: io

 

. fd.
Cell: Pog

DATE:
ry
Feed on Gallery g days

Rec on Gallery

of
a No, Recreation aw days ee

L : No Shave
Carie Pass i
: “Crutch Pass,

‘” Sneaker Pass

 

 

Restricted to cell for _ eles days

 

Should report to sick call on

 

Date:

 

Nurse Signature

 

Physician or PA Signature.

All restrictions will continue through the expiration date.

DNO20
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Mayphenaee
ee

 

ANDREW MM cuOMo ANTHONY J. ANNUCCI
Governor Acting Commissioner
To: DSS: E.Burnett

From: SGT: R. Fuentes

Subject: Inmate Labossiere, Wilfred 14a2683
Date: 08/10/19

On 07/29/19 at approximately 7:00 pm | interviewed inmate Labossiere, Wilfred 14A2683 in
Complex 4 Sergeant's office regarding his complaint against Officer N. Baxter. In the
complaint inmate Labossiere claims Officer N. Baxter refused to follow Doctors orders by
refusing to allow him to use the shower but allowed others to come out the cells to walk
their dogs. During the interview the inmate informed me that in the date in question all
inmates were secured in their cells because of an electrical problem.

On 8/10/19 at approximately 7:05pm | contacted Officer N. Baxter by telephone regarding
this complaint as he is scheduled to return on 8/29/19 and | will be out then.

Officer N. Baxter informed me that on 7/13/19 He worked Housing Unit 4F on the 3-11 shift
and due to an electrical issue, all inmates were secured in their cells. He stated that he
allowed some inmates out the cells to walk their dogs only after it was authorized by the
Watch Commander; as the inmates returned some picked up the laundry. Officer N. Baxter
informed me that he had no knowledge of inmate’s Labossiere personal or Medical
information and would never share such information. Officer Baxter informed me, He was
under the impression the inmate was able to accomplish his needs using the water in the
cell to clean up as he was unaware of the inmate actual condition or needs. (upon his return
the Officer will submit written response)

Respectfully Submitted

pen

SOT: R Fuentes |

 

Downstate Correctional Facility, 121 Red Schoolhouse Road, P.O. Box 445, Fishkill, NY 42524-0445 | (845) 831-6600 | www.doccs.ny.gov
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DOWNSTATE CORRECTIONAL FACILITY

 

TO: Security

FROM: Medical

RE: Name: pak 8 me ay
Number: uA my

Cell: SA

DATE: 9 AY

   

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en ap SS ot
__‘«"_ Feed on Gallery ey
Rec on Gallery ee \ Ae

No Recreation days 4 4

No Shave ___ days cone b

 

__ Cane Pass

____ Cruteh Pass

Sneaker Pass

-4 eo
So adyaad & a

Restricted to cell for _ days

 

Should report to sick call on

Date:

 

Nurse Signature _

 

Physician or PA Signature

All restrictions will continue through the expiration date.

DNO20
Case 7:21-cv-10538-KMK Document 2 Filed 12/09/21 Page 18 of 19
DOWNSTATE CORRECTIONAL FACILITY

 

TO: Security

FROM: Medical

 

 

 

RE: Name:
Number:
Cell:
DATE:
co Feed on Gallery _ __ days
oe Rec on Gallery “ | ays
__ No Recreation __ __ days
____ No Shave _ ___ days
Cane Pass __ days
__ Crutch Pass . days
____ Sneaker Pass _ days
Restricted .to cell for days

Should report to sick call on

 

Date:

 

 

Nurse Signature

 

 

Physician or PA Signature

All restrictions will continue through the expiration date.

DNO20
 

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